                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


BOYD SMITH, NANCY SMITH,                     )
JOEY SMITH, JEFFREY SMITH,                   )
JILL SMITH, BESSIE HACKNEY,                  )
WILLIAM GRAY, PEGGY GRAY,                    )
and GREGORY HOUSTON,                         )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           )       No. 3:04-CV-591
                                             )       (JARVIS/GUYTON)
FIRST CENTURY BANK,                          )
CONNIE DYER, SHERI LAWSON,                   )
and DELORIS GRAVES,                          )
                                             )
               Defendants.                   )       Consolidated


ERNEST NICELY and                            )
PATRICIA NICELY,                             )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           )       No. 3:05-CV-175
                                             )
FIRST CENTURY BANK,                          )
CONNIE DYER, SHERI LAWSON,                   )
and DELORIS GRAVES,                          )
                                             )
               Defendants.                   )


                               MEMORANDUM AND ORDER

               This case came before the undersigned on November 3, 2005 for a status and

scheduling conference, and for a hearing on four Motions [Docs. 81, 86, 89 and 91] to modify the

Scheduling Order. Counsel for all parties in the case were present, and all parties agreed that the




Case 3:04-cv-00591-TAV-HBG           Document 98       Filed 11/07/05      Page 1 of 3     PageID
                                           #: 112
trial date of January 24, 2006 should be continued for at least six months and that the Scheduling

Order should be modified accordingly.

               Therefore, the Court finds that the Motions to modify the Scheduling Order [Docs.

81, 86, 89 and 91] are well-taken and are GRANTED, and the Scheduling Order [Doc. 23] is hereby

amended as follows:

       (1) Trial Date: November 7, 2006

       (2) Motions in Limine: On or before November 2, 2006

       (3) Special Requests to Instruct for Jury: On or before November 2, 2006

       (4) Rule 26(a)(3) Pretrial Disclosures, (except as to witnesses [see paragraph 5
       below]): On or before October 18, 2006

       (5) Final Witness List under Rule 26(a)(3): On or before August 2, 2006

       (6) Supplementation of Rule 26(a)(3) Final Witness List: Within five (5) days after
       service of list

       (7) Dispositive Motions: On or before August 23, 2006

       (8) Discovery Cut-off: August 11, 2006

       (9) Expert Testimony: Disclosure of any expert testimony in accordance with Rule
       26(a)(2) shall be made by the plaintiffs on or before July 19, 2006, and by the
       defendants on or before August 2, 2006

       10) Daubert Motions: Motions seeking a Daubert hearing must be filed on or before
       September 6, 2006 or they will be deemed waived.

               A motion seeking extension of any deadline set forth in this Order shall be filed prior

to the expiration of the deadline stated in this Order. Absent extraordinary or extenuating

circumstances, motions filed after the expiration of the deadline shall be denied. Also, failure to




                                                 2


Case 3:04-cv-00591-TAV-HBG           Document 98         Filed 11/07/05      Page 2 of 3      PageID
                                           #: 113
comply with this Order may result in the exclusion of damages, witnesses, exhibits, depositions,

and/or videotapes from evidence at trial.

               IT IS SO ORDERED.

                                            ENTER:


                                                  s/ H. Bruce Guyton
                                            United States Magistrate Judge




                                               3


Case 3:04-cv-00591-TAV-HBG           Document 98      Filed 11/07/05     Page 3 of 3     PageID
                                           #: 114
